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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

JOHN THOMAS MILLER,                     )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )             CIVIL ACTION NO.:
                                        )              4:17-CV-180-VEH
JEFFERSON S. DUNN, et al,               )
                                        )
      Defendants.                       )


             ORDER SETTING SCHEDULING CONFERENCE

      As the parties have requested a hearing, a scheduling conference in the above-

styled cause is set for Thursday, August 17, 2017 at 2:30 P. M., in the 6th floor

JURY ROOM of the undersigned. One counsel of record for each party MUST

appear in person. No counsel shall be allowed to participate by telephone.

      DONE and ORDERED this the 9th day of August, 2017.




                                             VIRGINIA EMERSON HOPKINS
                                             United States District Judge
